                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
               v.                             )
                                              )        3:12 CR 00159
CHAD EDWARD WARRICK,                          )        Judge Marvin E. Aspen
ANGELA CAMARDA, and                           )
CYNTHIA FAYE HEINZ,                           )
                                              )
               Defendants.                    )

                                              ORDER

         We have reviewed the Government’s second, unopposed motion for an extension of time

for the parties to submit certain pretrial materials (Dkt. No. 92). This motion is hereby granted.

The parties shall submit their proposed voir dire questions, proposed jury instructions, joint

statement of the nature of the case, exhibit and witness lists, and stipulations on or by

July 28, 2014. Objections to the above shall be due August 4, 2014. Motions in limine shall be

filed on or by August 11, 2014, with responses due August 18, 2014.



                                                       SO ORDERED:



                                                       Marvin E. Aspen
                                                       United States District Judge




Dated:         Chicago, Illinois
               July 14, 2014




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